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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

STEVEN THALER, an individual,

                       Plaintiff,

       v.
                                                      Civil Action No. 22-1564 (BAH)
SHIRA PERLMUTTER, in her official
capacity as Register of Copyright and Director        Chief Judge Beryl A. Howell
of the United States Copyright Office; and
THE UNITED STATES COPYRIGHT
OFFICE,

                       Defendants.

                                            ANSWER

       Defendant, Shira Perlmutter, in her official capacity as Register of Copyright and

Director of the United States Copyright Office, and Defendant, the United States Copyright

Office, through undersigned counsel hereby answer the averments of Plaintiff’s Complaint.

Each of the paragraphs numbered 1 to 66 responds to the corresponding paragraph in the

Complaint. All averments in the Complaint are denied except for those expressly admitted to

below. To the extent that the headings or any other non-numbered statements in the Complaint

contain any allegations, Defendants deny each and every such allegation.

       As to the initial, unnumbered paragraph, Defendants admit that Stephen Thaler is the

Plaintiff and that Shira Perlmutter, in her official capacity as Register of Copyright and Director

of the United States Copyright Office, and the United States Copyright Office (“Copyright

Office”) are the Defendants. To the extent the paragraph is deemed to contain allegations that

require a response, the same are denied.
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                                      NATURE OF ACTION

       1.      Defendants lack knowledge and information sufficient to form a belief as to the

truth of Plaintiff’s assertions regarding Dr. Thaler’s “business” and those allegations are deemed

denied. The remainder of Paragraph 1 is a conclusory statement made by Plaintiff that requires

no response. To the extent the paragraph is deemed to contain allegations that require a

response, the same are denied.

       2.      Defendants admit that Dr. Thaler “filed to register copyright for an AI-Generated

Work” titled “A Recent Entrance to Paradise” with the Copyright Office. Defendants further

admit that the application named “Creativity Machine” as the Author and “Steven Thaler” as the

Copyright Claimant. Any remaining allegations are denied.

       3.      Defendants admit that the Copyright Office denied registration of a copyright in

the work titled “A Recent Entrance to Paradise” and the quoted language in Paragraph 3 is

contained within the Copyright Review Board’s (“Board”) final decision, quoting the Copyright

Office’s Initial Letter Refusing Registration. Further, Defendants admit that the Board’s

determination constitutes a final agency action. Any remaining allegations are denied.

       4.      Denied.

       5.      Paragraph 5 is an argumentative, conclusory statement made by Plaintiff that

requires no response. To the extent the paragraph is deemed to contain allegations that require a

response, the same are denied.

       6.      Defendants admit that pursuant to 5 U.S.C. § 704, the Administrative Procedure

Act, final agency actions are subject to judicial review. The remainder of Paragraph 6 is a

statement of Plaintiff’s objectives that requires no response. To the extent that an answer is

deemed to be required, the allegations are denied, and Plaintiff is not entitled to the relief sought.



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       7.      Paragraph 7 is a conclusory statement that requires no response. To the extent the

paragraph is deemed to contain allegations that require a response, Defendants lack knowledge

and information sufficient to form a belief as to the truth of the allegations and the same are

deemed denied.

                                 JURISDICTION AND VENUE

       8.      Defendants admit that Plaintiff purports to bring an action under the

Administrative Procedure Act (5 U.S.C. §§ 701-706). Defendants deny that all relief sought by

Plaintiff is available under the Administrative Procedures Act. Further, Defendants admit that

the Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a), and 1361. Defendants deny

that 28 U.S.C. §§ 2201-2022 [sic] provides the Court “subject matter jurisdiction.”

       9.      Defendants admit that pursuant to 28 U.S.C. § 1391(e), venue is proper.

                                            PARTIES

       10.     Defendants admit that Stephen Thaler, in his individual capacity, is identified as

the Plaintiff. As to the remaining averments of Paragraph 10, Defendants lack knowledge and

information sufficient to form a belief as to the truth of the averments and those averments are

deemed denied.

       11.     Defendants admit that Plaintiff submitted a copyright registration application in

the work titled “A Recent Entrance to Paradise” to the Copyright Office. Any remaining

allegations are denied.

       12.     Defendants admit that Shira Perlmutter is Register of Copyrights and Director of

the Copyright Office. Defendants further admit that the Register is responsible for overseeing

the Copyright Office’s decision to register copyrights and has the authority to direct the




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registration of a copyright application, as described in 17 U.S.C. § 701(a). Any remaining

allegations are denied.

       13.     Defendants admit that the Copyright Office is a department of the Library of

Congress and that the Copyright Office issues registrations regarding copyright claims and

maintains records of copyright ownership.

                                  FACTUAL BACKGROUND 1

       14.     As to the first clause of the sentence of Paragraph 14, Defendants lack knowledge

and information sufficient to form a belief as to the truth of the assertions and those assertions

are deemed denied. The second clause of the sentence of Paragraph 14 is a conclusory statement

made by Plaintiff that requires no response. To the extent the paragraph is deemed to contain

allegations that require a response, the same are denied.

       15.     Defendants admit that Plaintiff’s copyright registration application in the work

titled “A Recent Entrance to Paradise” (the “Work”) is the subject of instant action and that in

the copyright registration application, the “author” of the Work is listed as “Creativity Machine.”

Defendants further admit that the two-dimensional artwork reproduced in Paragraph 15 appears

to be the Work, which is the subject of the copyright registration application at issue. Any

remaining allegations are denied.

       16.     Defendants admit that on November 3, 2018, Plaintiff filed an application (“the

Application”) to register the Work. Defendants further admit that the application was assigned

the service request number 1-7100387071.




       1
         The section headings of the Complaint from this point forward until “Causes of Action”
have been omitted, as they are unnecessary and generally unhelpful. Omission of the headings is
neither an admission nor denial of the content of the headings.
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       17.     The Application Plaintiff submitted to the Copyright Office speaks for itself. To

the extent the allegations of Paragraph 17 paraphrase or characterize the Application, Defendants

deny the allegations to the extent they are inconsistent with the Application. Any remaining

allegations are denied.

       18.     The Application Plaintiff submitted to the Copyright Office speaks for itself. To

the extent the allegations of Paragraph 18 paraphrase or characterize the Application, Defendants

deny the allegations to the extent they are inconsistent with the Application. Any remaining

allegations are denied.

       19.     Defendants admit that the Copyright Office sent a refusal letter to Plaintiff dated

August 12, 2019. The refusal letter speaks for itself. To the extent the allegations of Paragraph

19 paraphrases or characterizes the letter, Defendants deny the allegations to the extent they are

inconsistent with the letter. Any remaining allegations are denied.

       20.     Defendants admit that Plaintiff submitted two requests for reconsideration, one on

September 23, 2019 2 and one on May 27, 2020. The requests Plaintiff submitted to the

Copyright Office speak for themselves. To the extent the allegations of Paragraph 20 paraphrase

or characterize the requests, Defendants deny the allegations to the extent they are inconsistent

with the requests. Any remaining allegations are denied.

       21.     Defendants admit that the Copyright Office sent a first refusal letter to Plaintiff

dated March 30, 2020. The letter speaks for itself. To the extent the allegations of Paragraph 21

paraphrase or characterize the letter, Defendants deny the allegations to the extent they are

inconsistent with the letter. Any remaining allegations are denied.




       2
          Defendants note that the top of Plaintiff’s First Request is dated September 8, 2019, but
the attorney’s signature block has a date of September 23, 2019.
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       22.     Defendants admit that the Copyright Office sent a second refusal letter to Plaintiff

dated February 14, 2022. The letter speaks for itself. To the extent the allegations of Paragraph

22 paraphrase or characterize the letter, Defendants deny the allegations to the extent they are

inconsistent with the letter. Any remaining allegations are denied.

       23.     The second refusal letter speaks for itself. To the extent the allegations of

Paragraph 23 paraphrase or characterize the letter, Defendants deny the allegations to the extent

they are inconsistent with the letter. Any remaining allegations are denied.

       24.     The second refusal letter speaks for itself. To the extent the allegations of

Paragraph 24 paraphrase or characterize the letter, Defendants deny the allegations to the extent

they are inconsistent with the letter. Any remaining allegations are denied.

       25.     The second refusal letter speaks for itself. To the extent the allegations of

Paragraph 25 paraphrase or characterize the letter, Defendants deny the allegations to the extent

they are inconsistent with the letter. Any remaining allegations are denied.

       26.     The second refusal letter speaks for itself. To the extent the allegations of

Paragraph 26 paraphrase or characterize the letter, Defendants deny the allegations to the extent

they are inconsistent with the letter. Any remaining allegations are denied.

       27.     The second refusal letter speaks for itself. To the extent the allegations of

Paragraph 27 paraphrase or characterize the letter, Defendants deny the allegations to the extent

they are inconsistent with the letter. Any remaining allegations are denied.

       28.     The second refusal letter speaks for itself. To the extent the allegations of

Paragraph 28 paraphrase or characterize the letter, Defendants deny the allegations to the extent

they are inconsistent with the letter. Any remaining allegations are denied.




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          29.   Paragraph 29 includes statements of law that require no response. Paragraph 29

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

          30.   The first sentence of Paragraph 30 is a conclusory statement made by Plaintiff

that requires no response. The remaining sentences of Paragraph 30 are quotations of law that

require no response. To the extent the paragraph is deemed to contain allegations that require a

response, the same are denied.

          31.   As to the first sentence of Paragraph 31, denied. The third sentence of Paragraph

31 includes a quotation from the second refusal letter, the letter speaks for itself. To the extent

the allegation in the third sentence of Paragraph 31 paraphrases or characterizes the letter,

Defendants deny the allegations to the extent they are inconsistent with the letter. The remainder

of Paragraph 31 includes conclusory statements made by Plaintiff that require no response. To

the extent that an answer is deemed to be required, the allegations are denied.

          32.   Paragraph 32 is a conclusory statement made by Plaintiff that requires no

response. To the extent that an answer is deemed to be required, Defendants lack knowledge and

information sufficient to form a belief as to the truth of the allegations, and those allegations are

deemed denied.

          33.   As to the first sentence of Paragraph 33, the second refusal letter speaks for itself.

To the extent the allegation in the first sentence of Paragraph 33 paraphrases or characterizes the

letter, Defendants deny the allegations to the extent they are inconsistent with the letter. The

second and third sentences of Paragraph 33 are conclusory statements made by Plaintiff that

require no response. To the extent that an answer is deemed to be required, the allegations are

denied.



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       34.     Paragraph 34 is a conclusory statement made by Plaintiff that requires no

response. To the extent the paragraph is deemed to contain allegations that require a response,

the same are denied.

       35.     Paragraph 35 includes statements of law that require no response. Paragraph 35

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       36.     Paragraph 36 includes statements of law that require no response. Paragraph 36

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       37.     Paragraph 37 includes statements of law that require no response. Paragraph 37

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       38.     Paragraph 38 includes statements of law that require no response. Paragraph 38

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       39.     As to the first sentence of Paragraph 39, the second refusal letter speaks for itself.

To the extent the allegation in the first sentences of Paragraph 39 paraphrases or characterizes

the letter, Defendants deny the allegations to the extent they are inconsistent with the letter. The

second and third sentences of Paragraph 39 are conclusory statements made by Plaintiff that

require no response. To the extent the paragraph is deemed to contain allegations that require a

response, the same are denied.




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          40.   Paragraph 40 includes statements of law that require no response. Paragraph 40

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

          41.   Paragraph 41 includes statements of law that require no response. Paragraph 41

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

          42.   As to the first sentence of Paragraph 42, the second refusal letter speaks for itself.

To the extent the allegation in the first sentence of Paragraph 42 paraphrases or characterizes the

letter, Defendants deny the allegations to the extent they are inconsistent with the letter. The

remainder of Paragraph 42 includes statements of law that require no response. The remainder

of Paragraph 42 also includes conclusory statements made by Plaintiff that require no response.

To the extent the paragraph is deemed to contain allegations that require a response, the same are

denied.

          43.   Paragraph 43 includes statements of law that require no response. Paragraph 43

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

          44.   Paragraph 44 includes statements of law that require no response. Paragraph 44

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

          45.   Paragraph 45 includes statements of law that require no response. Paragraph 45

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.




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          46.   As to the first and second sentences of Paragraph 46, Defendants admit that “AI is

not a legal person and does not have rights” and Defendants admit that AI cannot “‘own’

intellectual property.” The third and fourth sentences of Paragraph 46 include statements of law

that require no response and conclusory statements made by Plaintiff that require no response.

To the extent the paragraph is deemed to contain allegations that require a response, the same are

denied.

          47.   As to the first sentence of Paragraph 47, Defendants lack knowledge and

information sufficient to form a belief as to the truth of Plaintiff’s assertions and, the same are

therefore, deemed denied. The second sentence of Paragraph 47 is a conclusory statement made

by Plaintiff that require no response. To the extent the paragraph is deemed to contain

allegations that require a response, the same are denied.

          48.   Paragraph 48, including the footnote, contains statements of law that require no

response. Paragraph 48, including the footnote, also contains conclusory statements made by

Plaintiff that require no response. To the extent the paragraph and footnote are deemed to

contain allegations that require a response, the same are denied.

          49.   Paragraph 49 is a conclusory statement made by Plaintiff that requires no

response. To the extent the paragraph is deemed to contain allegations that require a response,

the same are denied.

          50.   Paragraph 50 includes statements of law that require no response. Paragraph 50

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.




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       51.     Paragraph 51 includes statements of law that require no response. Paragraph 51

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       52.     Paragraph 52 includes statements of law that require no response. Paragraph 52

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       53.     The first and second sentences of Paragraph 53 include statements of law that

require no response and conclusory statements made by Plaintiff that require no response. To the

extent the paragraph is deemed to contain allegations that require a response, the same are

denied. As to the third sentence of Paragraph 53, Defendants lack knowledge and information

sufficient to form a belief as to the truth of the allegations and the same are deemed denied.

       54.     Paragraph 54 includes statements of law that require no response. Paragraph 54

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       55.     Paragraph 55 includes statements of law that require no response. Paragraph 55

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       56.     Paragraph 56 is a conclusory statement made by Plaintiff that requires no

response. To the extent the paragraph is deemed to contain allegations that require a response,

the same are denied.

       57.     Paragraph 57 includes statements of law that require no response. Paragraph 57

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.



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       58.     Paragraph 58 includes statements of law that require no response. Paragraph 58

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       59.     Paragraph 59 includes statements of law that require no response. Paragraph 59

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

       60.     Paragraph 60 includes statements of law that require no response. Paragraph 60

also includes conclusory statements made by Plaintiff that require no response. To the extent the

paragraph is deemed to contain allegations that require a response, the same are denied.

                                     CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION

       (Administrative Procedure Act Violation for Denial of Plaintiff’s Application)

       61.     In response to Paragraph 61 of the Complaint, Defendants re-allege and

incorporate the admissions and denials as stated in Paragraphs 1-60 above.

       62.     Defendants admit that the Copyright Office’s second refusal to register the Work

is a final agency action. Defendants further admit that Plaintiff is seeking to reverse the

Copyright Office’s refusal to register. Any remaining allegations of Paragraph 62 are denied.

       63.     Defendants deny Paragraph 63 of the Complaint.

       64.     Defendants deny Paragraph 64 of the Complaint.

       65.     Defendants deny Paragraph 65 of the Complaint.

       66.     Defendants deny Paragraph 66 of the Complaint.

                                    PRAYER FOR RELIEF

       1.      Defendants deny Paragraph 1 of the Prayer for Relief.



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       2.      Defendants deny Paragraph 2 of the Prayer for Relief.

       3.      Defendants deny Paragraph 3 of the Prayer for Relief.

                                          DEFENSES

       1.      The Complaint fails to state a claim upon which relief can be granted. The

Complaint contains solely legal conclusions and fails to allege any facts to support such

conclusions.

       2.      The Copyright Office’s decision was not arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.

       WHEREFORE, Defendant Shira Perlmutter, Register of Copyright and Director of the

United States Copyright Office, and Defendant the United States Copyright Office pray that

Plaintiff’s Complaint be dismissed and for such other and further relief as may be deemed

appropriate.

                                                 Respectfully submitted,

                                                 BRIAN M. BOYTON
                                                 Principal Deputy Assistant Attorney General

                                                 GARY L. HAUSKEN
                                                 Director

                                                 s/ Jenna Munnelly
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                                                 Counsel for Defendants

Dated: September 26, 2022


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